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Return of Service

UNITED STATES DISTRICT COURT
Western District of Washington

U.S. Securities and Exchange Commission
Plaintiff

vs Case Number: 2:22-cv-01009-TLF

Ishan Wahi; et al.
Defendant

On behalf of:

U.S. Securities and Exchange Commission
100 F St NE

Washington, DC 20549

Received by Cavalier to be served on Nikhil Wahi, c/o Priya Chaudhry, Esq., at 45 West 29th Street, Suite 303, New
York NY 10001.

|, Michael Phelan, being duly sworn, depose and say that on August 1, 2022 at or about 1:15 PM | served Summons &
Complaint to Kristen Mohr as Associate Attorney, authorized recipient for Priya Chaudhry, counsel of Nikhil Wahi.
Service occurred at Chaudry Law Office PLLC, 45 West 29th Street, New York, NY 10001.

| am a natural person over the age of eighteen and am not a party or otherwise interested in the subject matter in
controversy. | am a private process server authorized to serve this process in accordance with relevant law. Under
penalty of perjury, | declare that the foregoing is true and correct.

Michael Phelan Date
Cavalier CPS

823-C S. King St.

Leesburg, VA 20175

Our Job Number: 2022-101065

Reference: 22-ENF-116

 

 

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